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                              UNITED STATES DISTRICT COURT FOR THE
                               NORTHERN DISTRICT OF OKLAHOMA
    STATE OF OKLAHOMA, et al.,
                                          Plaintiffs,
       v.                                                 Case No. 4:05-cv-329-GKF-SH
    TYSON FOODS, INC., et al.,
                                       Defendants.

                         ORDER GRANTING PLAINTIFFS’ UNOPPOSED
                            MOTION FOR STATUS CONFERENCE

            On this day, the above-styled case comes before the Court on Doc. 2981, Plaintiffs’

   Unopposed Motion for Status Conference. For good cause shown, the Court GRANTS Plaintiffs’

   Unopposed Motion.

            This case is hereby set for status conference on March 17, 2023 at 1:30 p.m.

            IT IS SO ORDERED this 22nd day of February, 2023.
